                         Case 19-03580                    Doc 8       Filed 02/12/19       Entered 02/12/19 09:08:04                    Desc Main
                                                                         Document          Page 1 of 6
  Fill in this information to identify your case:                                                             0.00
                                                                                                              0.00

   Debtor 1              Freeman                 Lewis                  Allen
                         __________________________________________________________________
                                                                                                           417.70
                                                                                                           417.70
                         First Name                     Middle Name          Last Name

   Debtor 2              Lisa                    Belinda                Allen
                         __________________________________________________________________
                                                                                                               0.00            Check if this is an amended
   (Spouse, if filing)   First Name                     Middle Name          Last Name
                                                                                                                               plan, and list below the
   United States Bankruptcy Court for the : __NORTHERN DISTRICT OF ILLINOIS __                                                 sections of the plan that have
                                                                                                                               been changed
   Case Number ______________________________________________
   (If known)                                                                                                                  ________________________
                                                                                                                               ________________________


Official Form 113
Chapter 13 Plan                                                                                                                                               12/17

  Part 1:            Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.


 To Creditors:             Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                           attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                           includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                           be ineffective if set out later in the plan.




 1.1      A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                           Included         Not Included
          payment or no payment at all to the secured creditor
 1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                            Included         Not Included
          Section 3.4
 1.3      Nonstandard provisions, set out in Part 8                                                                                 Included         Not Included



 Part 2:             Plan Payments and Length of Plan

2.1 Debtors(s) will make regular payments to the trustee as follows:
          1,125.00
     $ ___________                   month for _____
                                 per_______        60 months
     Insert additional lines if necessary.
     If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
     payments to creditors specified in this plan.




Official Form 113                     Record # 806571                         Chapter 13 Plan                                                        Page 1
                  Case 19-03580               Doc 8       Filed 02/12/19            Entered 02/12/19 09:08:04                      Desc Main
                                                             Document               Page 2 of 6
Debtor 1   Freeman                 Lewis                  Allen
           __________________________________________________________________                          Case Number (if known) ______________________________
           First Name                 Middle Name                Last Name


2.2 Regular payments to the trustee will be made from future income in the following manner:
    Check all that apply.
        Debtor(s) will make payments pursuant to a payroll deduction order.
        Debtor(s) will make payments directly to the trustee.
        Other (specify method of payment):____________________________.

2.3 Income tax refunds
    Check one.
           Debtor(s) will retain any income tax refunds received during the plan term.
           Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within14 days of filing the return and will
           turn over to the trustee all income tax refunds received during the plan term.
           Debtor(s) will treat income tax refunds as follows:
            ____________________________________________________________________________________________________

            ____________________________________________________________________________________________________
2.4 Additional payments.
    Check one.
           None. If “None” is checked, the rest of    2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ __________________.
                                                                                                    67,500.00

 Part 3:       Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.
    Check one.
           None. If “None” is checked, the rest of    3.1 need not be completed or reproduced.

           The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
           the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
           directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
           trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
           filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
           arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
           is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
           paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
           column includes only payments disbursed by the trustee rather than by the debtor(s).

            Name of Creditor             Collateral         Current installment        Amount of           Interest rate on   Monthly plan Estimated total
                                                            payment                    arrearage (if       arrearage          payment on payments by
                                                            (including escrow)         any)                (if applicable)    arrearage    trustee

           Carrington Mortgage         5250 Deana Ln       $           1,969.00       $         0.00           0.00   %       $        0.00    $            0.00
           SE                          Richton Park IL      Disbursed by:
                                       60471 - Primary          Trustee
                                       Residence                 Debtor(s)


3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.
           None. If “None” is checked, the rest of    3.2 need not be completed or reproduced.




Official Form 113        Record # 806571                                Chapter 13 Plan                                                         Page 2
                    Case 19-03580              Doc 8          Filed 02/12/19          Entered 02/12/19 09:08:04                     Desc Main
                                                                 Document             Page 3 of 6
Debtor 1    Freeman                 Lewis                  Allen
            __________________________________________________________________                         Case Number (if known) ______________________________
             First Name                Middle Name                 Last Name


            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
            The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
            listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
            claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
            claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
            the secured claim will be paid in full with interest at the rate stated below.

            The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part5 of this
            plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
            as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the
            proof of claim controls over any contrary amounts listed in this paragraph.

            The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
            of the debtor(s) or the estate(s) until the earlier of:
            (a) payment of the underlying debt determined under nonbankruptcy law, or
            (b) discharge of the underlying debt under 11 U.S.C. 1328, at which time the lien will terminate and be released by the creditor.


            Name of Creditor      Estimated amount Collateral         Value of     Amount of        Amount of     Interest Monthly    Estimated total
                                  of creditor's total                 collateral   claims senior to secured claim rate     payment to of monthly
                                  claim                                            creditor's claim                        creditor   payments

            Title Max             $          2,500.00 2003 Ford        $ 1,850.00 $ 0.00              $       2500.00    7.50%     $ 55.00        $      2,950.00
                                                      Expedition
                                                      with over
                                                      260,000
                                                      miles

3.3 Secured claims excluded from 11 U.S.C.            506.
   Check one.
           None. If “None” is checked, the rest of      3.3 need not be completed or reproduced.
           The claims listed below were either:

           (1)   incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
                 personal use of the debtor(s), or

           (2)   incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

           These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
           directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
           filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
           claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).

             Name of Creditor                  Collateral                                Amount of          Interest     Monthly plan     Estimated total
                                                                                         claim              rate         payment          payments by trustee


           Nationwide CAC LLC                  2007 Mercedes-Benz GL with over           $ 6,525.00            7.50 %   $       142.00    $            7,807.63
                                               198,000 miles
                                                                                                                         Disbursed by:
                                                                                                                             Trustee
                                                                                                                             Debtor(s)


3.4 Lien avoidance.
    Check one.
            None. If “None” is checked, the rest of          3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
     Check one.
            None. If “None” is checked, the rest of    3.5 need not be completed or reproduced.




Official Form 113          Record # 806571                                Chapter 13 Plan                                                        Page 3
                   Case 19-03580              Doc 8       Filed 02/12/19              Entered 02/12/19 09:08:04                   Desc Main
                                                             Document                 Page 4 of 6
Debtor 1   Freeman                 Lewis                  Allen
           __________________________________________________________________                       Case Number (if known) ______________________________
            First Name                Middle Name              Last Name


 Part 4:        Treatment of Fees and Priority Claims

4.1 General
    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in 4.5, will be paid in full without
    postpetition interest.

4.2 Trustee's fees
                                                                                                                  6.00
    Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be ________% of plan payments; and
                                                        4,050.00
    during the plan term, they are estimated to total $___________.


4.3 Attorney's fees
                                                                                           4,000.00
    The balance of the fees owed to the attorney for the debtor(s) is estimated to be $___________.


4.4 Priority claims other than attorney's fees and those treated in        4.5.
    Check one.

           None. If “None” is checked, the rest of   4.4 need not be completed or reproduced.
                                                                                    $25,062.00
           The debtor(s) estimate the total amount of other priority claims to be ______________.
390.84
4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
    Check one.

           None. If “None” is checked, the rest of   4.5 need not be completed or reproduced.

 Part 5:        Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.
    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
    providing the largest payment will be effective. Check all that apply.

           The sum of $___________.

             82
           _______%                                                                23,561.00
                    of the total amount of these claims, an estimated payment of $_________.

           The funds remaining after disbursements have been made to all other creditors provided for in this plan.

                                                                                                                                       0.00
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $______________.
           Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
           None. If “None” is checked, the rest of   5.2 need not be completed or reproduced.

           The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
           on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
           debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
           The final column includes only payments disbursed by the trustee rather than by the debtor(s).

           Name of Creditor                                                       Current installment       Amount of arrearage       Estimated total
                                                                                  payment                   to be paid                payments by
                                                                                                                                      trustee

           DEPT OF EDUCATION/NELN                                                 $               45.00    $               0.00        $             0.00

                                                                                  Disbursed by:
                                                                                      Trustee
                                                                                      Debtor(s)

           DEPT OF EDUCATION/NELN                                                 $                5.00    $               0.00        $             0.00

                                                                                  Disbursed by:
                                                                                      Trustee
                                                                                      Debtor(s)


5.3 Other separately classified nonpriority unsecured claims. Check one.
           None. If “None” is checked, the rest of   5.3 need not be completed or reproduced.

Official Form 113        Record # 806571                              Chapter 13 Plan                                                        Page 4
                    Case 19-03580              Doc 8      Filed 02/12/19           Entered 02/12/19 09:08:04                   Desc Main
                                                             Document              Page 5 of 6
Debtor 1    Freeman                 Lewis                  Allen
            __________________________________________________________________                    Case Number (if known) ______________________________
             First Name                Middle Name              Last Name



  Part 6:        Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
    and unexpired leases are rejected. Check one.

            None. If “None” is checked, the rest of   6.1 need not be completed or reproduced.

  Part 7:        Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
    Check the applicable box:

            plan confirmation.
            entry of discharge.
            other: ____________________________________________.

  Part 8:        Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions
            None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in        1.3.


   Trustee will be the disbursing agent for pre-confirmation adequate protection payments of $65.00 to Nationwide
   CAC LLC.

   Title Max shall not receive pre-confirmation adequate protection payments, as the lien is not a PMSI.




  Part 9:       Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)' Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if
must sign below.


             /s/ Freeman Lewis Allen, Sr.                                      /s/ Lisa Belinda Allen
                          Freeman Lewis Allen, Sr.                                          Lisa Belinda Allen


             Date: 01/30/2019                                                  Date: 01/30/2019


            /s/ Kristin T Schindler
     ________________________________________                         Date: 02/11/2019
     Signature of Attorney for Debtor


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in Official Form 113, other than any nonstandard provisions included in Part 8.




Official Form 113          Record # 806571                             Chapter 13 Plan                                                      Page 5
                   Case 19-03580             Doc 8      Filed 02/12/19               Entered 02/12/19 09:08:04              Desc Main
                                                           Document                  Page 6 of 6
 Debtor 1   Freeman                 Lewis                  Allen
            __________________________________________________________________                  Case Number (if known) ______________________________
            First Name               Middle Name              Last Name



Exhibit: Total Amount of Estimated Trustee Payments
      The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
      out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                            $                0.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                    $           2,950.00

c.   Secured claims excluded from 11 U.S.C.        506 (Part 3, Section 3.3 total)                          $           7,807.63

d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                     $                0.00

e.   Fees and priority claims (Part 4 total)                                                                $          33,112.00

f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                              $          23,561.00

g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                          $                0.00

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                     $                0.00

i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)               $                0.00

j.   Nonstandard payments (Part 8, total)                                                                   $                0.00


     Total of lines a through j                                                                             $          67,430.63




Official Form 113        Record # 806571                             Chapter 13 Plan                                                     Page 6
